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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                                       Case No. 1:23-cr-257-TSC

DONALD J. TRUMP,

      Defendant.
________________________________/

PRESIDENT DONALD J. TRUMP’S OPPOSED MOTION FOR EXTENSION OF TIME
                       TO FILE REPLY BRIEFS

       President Donald J. Trump respectfully requests that the Court:

               1. Briefly extend his deadlines to file replies in support of his pending motions to

                  dismiss based on Constitutional (Doc. 113), statutory (Doc. 114), and selective

                  prosecution (Doc. 116) grounds (collectively, the “Non-Immunity MTDs”)

                  from November 16, 2023, to November 23, 2023; and

               2. Extend his deadline to file replies in support of his pending motions to strike

                  (Doc. 115) and stay (Doc. 128), by two days, to November 15, 2023.

       In support, President Trump states as follows:

                                        BACKGROUND

       The Court previously set a deadline of October 23, 2023, for President Trump to file

dispositive motions, including motions to dismiss. Doc. 82. In accordance with this deadline,

President Trump timely filed his three Non-Immunity MTDs, which address numerous significant

and complex legal issues. Additionally, President Trump has filed a motion to strike inflammatory

allegations from the indictment (Doc. 115) and a motion to stay this case (Doc. 128) pending a

resolution of his prior (and still pending) motion to dismiss based on Presidential immunity (Doc.

74).
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       On November 6, 2023, the prosecution filed its responses to these motions, including, with

leave of Court, an oversized, 64-page omnibus response (Doc. 139) to President Trump’s

Constitutional and statutory motions to dismiss. President Trump’s replies are currently due

Monday, November 13, 2023 (for the motions to stay and strike) and Thursday, November 16,

2023 (for the Non-Immunity MTDs).

       Simultaneously, President Trump has appealed this Court’s order limiting President

Trump’s speech (Doc. 105). Following extensive briefing, the Court denied President Trump’s

motion to stay this order pending appeal (Doc. 124). Thereafter, President Trump sought an

emergency stay in the D.C. Circuit. USCA Case. No. 23-3190, Doc. 2025149. The Circuit Court

then entered an administrative stay, while ordering an expedited briefing schedule, requiring

President Trump to file his opening brief on November 8, 2023, and his reply brief this coming

Friday (November 17, 2023). (Id. at Doc. 2025399). Moreover, the Circuit Court scheduled oral

argument for Monday, November 20, 2023.

       Accordingly, President Trump faces deadlines for six briefs on dispositive and other

crucially important issues this coming week. At the same time, President Trump’s legal team must

prepare for oral argument in the D.C. Circuit on an unprecedented First Amendment issue.

President Trump seeks the requested extensions so that he may better balance these conflicting

obligations, while also continuing his trial preparation work, which cannot stop given the enormity

of discovery and the potential March 4, 2024, trial date.

                                          DISCUSSION

       Under Federal Rule of Criminal Procedure 45(b)(1), the Court may grant an extension for

good cause shown at any time “before the originally prescribed or previously extended time

expires.” As the Court knows, President Trump and his counsel have worked diligently to comply



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with the deadlines in this matter and apprise the Court of relevant legal authority and arguments

so that Your Honor may make fully informed decisions. Indeed, President Trump has filed

numerous substantive submissions nearly every week since this case began. The requested

extensions will allow President Trump to focus on and complete each filing at a reasonable

cadence, rather than all at once. The requested extensions will not cause any prejudice, as all

filings will still be completed within 11 days or fewer and will not affect any other deadline.

Likewise, as several significant, previously filed motions are fully briefed and currently awaiting

determination, the requested extensions are unlikely to affect the Court’s review process.

       Therefore, President Trump respectfully requests the Court grant the requested extensions.

                              CERTIFICATE OF CONFERRAL

       Counsel for President Trump conferred with counsel for the prosecution, who oppose the

relief requested herein.




 Dated: November 12, 2023                           Respectfully submitted,



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